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                 IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA
In re:                               :
                                     : Case No.: 20-12124
Jennifer Haken-Lafty                 : Chapter 13
                                     : Judge Magdeline D. Coleman
                           Debtor(s) : * * * * * * * * * * * * * * * * * *

                                          :
MidFirst Bank                             : Related Document # 63, 66, 67
                                 Movant, :
       vs                                 :
                                          :
Jennifer Haken-Lafty                      :
Kenneth E. West                           :
                             Respondents. :
                                          :


                                     ORDER OF COURT

        AND NOW, this 8th day of               March      2023, upon consideration of the
Certification of Default filed by MidFirst Bank ("Creditor"), it is hereby ORDERED, that the
Automatic Stay be and hereby is terminated as it affects the interest of Creditor in and to the
property located at 3234 Fuller Street, Philadelphia, PA 19136 and more particularly described in
the Mortgage, recorded October 28, 2015, at Instrument Number 52982628.

                                                BY THE COURT



                                                MAGDELINE D. COLEMAN
                                                CHIEF U.S. BANKRUPTCY JUDGE

CC:
  Alyk L. Oflazian, Attorney for Creditor, Manley Deas Kochalski LLC, P.O. Box 165028,
  Columbus, OH 43216-5028 (notified by ecf)

  Office of U.S. Trustee, Party of Interest, (Registered address)@usdoj.gov (notified by ecf)

  Kenneth E. West, Chapter 13 Trustee, 1234 Market Street - Suite 1813, Philadelphia, PA
  19107, ecfemails@ph13trustee.com (notified by ecf)

  Brad J. Sadek, Attorney for Debtor, Sadek and Cooper, 1500 JFK Boulevard, Ste 220,
  Philadelphia, PA 19102, brad@sadeklaw.com (notified by ecf)




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  Jennifer Haken-Lafty, Debtor, 3234 Fuller Street, Philadelphia, PA 19136 (notified by
  regular US Mail)




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